Case 19-11334-R Document1 Filed in USBC ND/OK on 06/26/19 Page 1 of 59

dk.
AW |
United States Bankruptcy Court for the: 2) . F i [. = 0D go va

NORTHERN District of OKLAHOMA

Fillin this information to identify your case:

 

Case number (f known): pter you are filing under.

 

2019 JUN 26 PM 2:40

Q ‘Chapter 7
a | MICHAEL L. WILLIAMS, CLERK
1 j bes u D
A chapter 13 | LS, BANKRUPTORRGUREER If this Is an

NORTHERN DISTRICT Ofnfitided filing

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy

The bankruptcy forms use you and Debfor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
Joint case—and in joint cases, these forms use you to ask for information from both debtors. For examplo, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and
Debtor 2 to distinguish between them. In Joint cases, one of the spouses must report information as Debtor f and the other as Debtor 2, The
same person must be Debtor 7 tn all of the forms.

Be as complete and accurate as possibile. if two married people are filing together, both are equatly responsible for supplying correct
Information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and caso number
(if known). Answer every question.

FREE tecntity Yourself

12/17

 

 

 

 

 

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name

Write the name thatison your Tgnnie Boris

govemment-issued picture = Oris

identification (for example, First name First name

your driver's license or Chicke Bernard

passport). Middle name Middle name
Bring your picture Nichols Nichols _ |
identification to your meeting Last name Last name
with the trustee. |

Suffix (Sr., Jr, i, Ht) Suffix (Sr., Je. 0, Ui)

ee es Se ee

12. All other names you

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Toante '
have used in the last 8 First name Firstname
years Chicke
Include your married or Middie name Middie name
maiden names. Smith

Last neme Last name i

- |

Firat name Firstname

Middle name Middle nana

Last name Last name :

- - !

3. Only the last 4 digits of |
your Social Security WK — XX — S9IF XX XK = 9952 :
number or federal OR OR
individual Taxpayer |
identification number 9xx - mx 9x =e
(ITIN)

Official Form 101 Valuntary Petition for Individuals Fillng for Bankruptcy page 1
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Debtor 1 Tonnie Chicke Nichols Case number gf kown),
First Name Middle Name Last Nemo
About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
4 Any business names
and Employer (4 | have not used any business names or EiNs. (Ai | have not used any business names or EINs.
Identification Numbers
(EIN) you have used In
the fast 8 years Business name Business name
Include trade names and
doing business as names Business name Bust
wee ee ee —— |
EIN EIN
. ;
rr EIN ee
!
| & Where you live Hf Debtor 2 lives at a different address:
8562 E 32nd St 8562 E 32nd St
Number Street Number Street
i
|
Tulsa OK _—-74145 Tulsa OK 74145
City State IP Code City State ZiPCode
Tulsa Tulsa
County County

if your mailing address is different from the one
above, fill it In here. Note that the court will send
any notices to you at this mailing address.

8562 E 32nd St

 

Debtor 2's malling address is differant from
yours, fill it in here. Note that the court will send
any netices to this mailing eddress.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

8562 E 32nd St
Number Street Number Street
P.O. Box P.O. Box
Tulsa OK 74145 Tulsa OK. 74145
City State «ZIP Code City State ZIP Code
6. Why you are choosing Check one: Check one:

 

 

 

 

 

this district
banktuptey ~~ Overthe tast 180 days before fling this petition, (2 Over the last 180 days before fiing this petition,
! have lived in this district longer than in any | have fived in this district longer than in any
other district. other district.
C} | have another reason, Explain. Cl I have ancther reason. Explain,
(See 28 U.S.C. § 1408.) (See 28 U.S.C. § 1408.)
|
i
i
Official Ferm 101 Voluntary Petition for Individuals Filing for Bankruptcy page 2
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Debtor 1 Tonnie Chicke Nichols Case number (known),
First Namo Middle Name Last Nama

Tell the Court About Your Bankruptcy Case

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for individuals Filing
Bankruptcy Code you for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
are choosing to file
under 9 (CI Chepter 7
Q) Chapter 41
QC) Chapter 12
la: Chapter 13

a. How you will pay the fee ai will pay the entire fee when | file my petition. Please check with the clerk's office in your
loca! court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. if your attomey is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

€) I need to pay the fee in installments. If you choose this option, sign and attach the
Application for individuals to Pay The Filing Fee in Installments (Official Form 103A).

(Oy request that my fee be walved (You may request this aption only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

 

 

 

 

 

 

 

 

 

 

 

9. Have you filed for [No
bankruptcy within the ro:
last 8 years? Yes. District ——— When GMT DD TVW Case number
District When Case number
MM/ DD/ YYYY
District When Cese number
MM/ OD/YYYY
10. Are any bankruptcy [no
cases pending or being a .
filed by aspouse whois !Ul Yes. Debtor __ Relationship to you
not filing this case with District “__ When Case number, if known,
you, or by a business MM/DD /YYYY
partner, or by an
affiliate?
Debtor Relationship to you
Olstrict When Case number, if known
MM/OD/YYYY
11. Do you rent your No. Gotoline 12.
residence? Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your

residence?

[Cd No. Go to line 12.

[LY ves. Filt out /nitial Statement About an Eviction Judgment Against You (Form 101A) and file it with
this bankruptcy petition.

Official Form 101 Voluntary Petition fer iIndividuais Filing for Bankruptcy page 3
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Debtor 4 Tonnie Chicke Nichols Case number (known)
Frat Namo Niddle Name Lust Nemo

Report About Any Businesses You Own as a Sole Proprietor

12, Are you a sole proprietor [TA No. Goto Part 4.

of any full- or part-time
business? [QO ves, Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is not a
separate lege entity such as
@ Corporation, partnership, or

 

Name of business, if any

 

 

 

LLC. Number Street

lf you have more than one

sole proprietership, use a

separate sheet and attach it

to this petition. City Sune FIP Code

Check the appropriate box to describe your business:

(Cl Health Care Business (as defined in 11 U.S.C. § 101{27A))
ICY single Asset Real Estate (as defined in 11 U.S.C. § 101(518))
(a Stockbroker (as defined in 11 U.S.C. § 101{53A))

ja Commodity Sroker (as defined in 11 U.S.C. § 101(6))

(a None of the above
13. Are you filing under if you are filing under Chapter 11, the court must know whether you are a smail business debtor so that it
Chapter 11 of the can set appropriate deadfines. if you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax retum or if
are you a sinall business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
debtor?
. i 11.
Fora definition of ematf 44 No. ° 1 am not fifing under Chapter
business debtor, see QI) No. tam filing under Chapter 11, but | am NOT a small business debtor according to the definition in
11 U.S.C. § 101(51D). the Bankruptcy Code.
CI Yes. iam filing under Chapter 11 and 1 am a small business debtor according to the definition In the
Bankruptcy Code.

eee Report if You Qwn or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you ownorhaveany Zino
ro} that poses or is

Feged to pote a threat ©) Yes. Whatis the hazard?
of imminent and .
Identifiable hazard to
public health or safety?
Or do you own any
property that needs : ;
immediate attention? if immediate attention is needed, why is it needed?
Far example, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

 

 

 

 

Where is the property?
Number Street

 

 

City Stata ZIP Code

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 4
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Debtor 1 Tonnie Chicke

First Namo Middlo Name

Nichols

Last Name

Case number (known),

lane Explain Your Efforts to Recelve a Briefing About Credit Counsoling

 

16. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannet do so, you are not
efigible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

About Debtor 4:

You must check one:

MW I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and I received a
certificate of compilation.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

(2 I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but I do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

(2 | certify that ! asked fer credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary walver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed If the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you fite.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

{} 1 am not required to receive a briefing about
credit counseling because of:

G3 incapacity. | have a mental iliness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

(2 Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

(2 Active duty. | am currently on active military
duty in a military combat zone.

if you befieve you are not required to receive a
briefing about credit counsefing, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Fiting for

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

i received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and ! received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

Ci irecelved a briefing from an approved credit
counseling agency within the 180 days before !
filed this bankruptcy petition, but J do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
yau MUST file a copy of the certificate and payment
plan, if any.

C2 | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain these services during the 7
days after ! made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you fited for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed If the court is
dissatisfied with your reasons for not receiving a
briefing before you fited for bankruptcy.
if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you fife.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, If any. If you do not do so, your case
may be dismissed.
Any extension of the 30-day deadline is granted
only for cause and is Emited to a maximum of 15
jays.

C2 1 am not required to receive a briefing about
credit counseling because of:

(2 Incapacity. | have a mental iffness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

C) Disability. My physical disability causes me
to be unable to participate ina
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

(2 Active duty. | am currently on active military
duty in a military combat zone,

tf you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Bankruptcy page 5
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Debtor 1 Tonnie Chicke Nichols Case number (known),
Firtt Namo Middle Name Lest Nemo

Ties Answer These Questions for Reporting Purposes

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16. you have? of debts do as ‘incurred by an individual primarily for a persenal, family, or household purpose.”

ia No. Go to line 16b.
'Yes. Go to fine 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money fer a business or investment or through the operation of the business or investment.

Fa No. Go to line 16c.
[CF Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

47. Are you filing under

 

 

 

 

 

Chapter 7? (a No. | am not filing under Chapter 7. Go to line 18.
Do you estimate that after ja Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
any exempt property Is administrative expenses are paid that funds will be available to distribute to unsecured creditors?
excluded and [I No
administrative expenses
are paid that funds will be Cl Yes
available for distribution
to unsecured creditors? oo oe -
18. How many creditors do {1-49 U2: 1,000-6,000 [G2 25,c01-50,000
you estimate that you ‘50-99 '5,001-10,000 [Q'50,c01-100,000
owe? 100-199 (CT 10,001-25,000 (CF More than 100,000
T 200-999
19. How much do you [CT so-s50,000 (CY $1,000,001-$10 milion C2) $500,000,001-$1 billion
estimate your assets to (7 $50,001-$100,000 [C¥'$10,000,001-$50 milion QO $1,000,000,001-$10 bition
be worth? {a $100,001-$500,000 [1 $50,000,001-$100 milion © $10,000,000,001-$50 billion
fl$500,001-$1 mitlion (€¥'$100,000,001-$500 million C More than $50 billion
20. How much do you [C2 $0-$50,000 (2) $1,000,001-$10 million C $500,000,001-$1 billion
estimate your Ilabilities $50,001-$100,000 '$10,000,001-$50 million (2 $1,000,000,001-$10 billion
to be? Wi $100,001-$500,000 (C'$50,000,001-$100 million CQ) $10,000,000,001-$50 billion
(EF's500,001-$1 million f-I'$100,000,001-$500 miftion C3 More than $50 bition

Sign Below
| have examined this petition, and | declare under penalty of perjury that the infomiation provided is true and
Foryou | correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and ! choose to proceed
under Chapter 7.

If no attomey represents me and | did not pay or agree to pay somecne who is not an attemey to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

! request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

1 understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can resuft in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

X Lin x

Signature of Be! ri u Signature of Debtor 2

Executed on’ 0 G Executed on G Qb 2015

MM / DD / MM/ DD /YYYY

Official Form 101 Voluntary Petition for Individuats Fling for Bankruptcy page 6
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Debtor 4 _Tonnie Chicke Nichols Case number 7 known)
First Nemo Middio Name Lest Nemo

F att if I, the attomey for the debtor(s) named in this petition, declare that | have Informed the debtor(s) about eligibility
or your attorney, If you are to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one available under each chapter for which the person is eligibte. | also certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)}(4)(D) applies, certify that | have no
if you are not represented —_ knowledge after an inquiry that the information in the schedules filed with the petition Is incorrect.
by an attorney, you do not .

 

 

 

 

 

 

 

 

need to file this page. x
Date
Signature of Attomey for Debtor MM / OD /YYYY
Printed name
Firm name
Number Street
City State ZIP Coda
Contact phone Email address
Gar number State

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 7
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Debtor 1 Tonnie Chicke Nichols Case number known),

Piest Name Middle Name Last Nemo
For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an should understand that many people find it extremely difficult to represent
attorney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.
if you are represented by
an attorney, you do not To be successful, you must correctly file and handle your bankruptcy case. The rules are very

need to file this page. technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must fist all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you co not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

if you decide to fite without an attorney, the court expects you to follow the rules as if you had
hired an attomey. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Precedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

Ci No

vo res
| Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incamplete, you could be fined or imprisoned?

fl No

Iv}
Did you pay or agree te pay somecne who is not an attorney to help you fill cut your bankruptcy forms?
OQ No

(2 Yes. Name of Person, .
Attach Bankrupicy Petition Preperer’s Notice, Declaration, and Signature (Official Form 119).

 

By signing here, | acknowledge that | understand the risks invoived in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if ! do not properly handle the case.

x Dom, Vb x Om ised,

 

Signature of Debtor 4 Signature of Debtor 2
on ge JOY on 6 UAHIG
MM/DD /YYYY — MMI DD IYYYY

Contact phone SIRRU28S78 Contact phone

 

Cell phone Cell phone

 

Email address Email address

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 8
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UNITED STATES BANKRUPTCY COURT

NORTHERN District Of OKLAHOMA

_ Nichols, Tonnie

In Re Case No.

 

Chapter _ 7

DEBTOR(S) Nichols, Tonnie -and- Nichols, Boris

Certification Concerning Debt Counseling

I/(We) declare under penalty of perjury that the following statements are true and
correct:

We are in the begining of a sale of property and we are aware of the debt and the preblem we had was because of the need
for a different job for my husband and me going back to work makes a difference because we are living within our means
and have decrease all debts now including school loan of 160,000. we just need a new start.

I, Jone kbye— , the Debtor(s) named herein, certify under

penalty of perjury that the foregoing is true and correct.

Executed on (, * ULNG
pw Ah /Z

‘Debtor 7

Bou, Mihaly

Joint Debtor (if applicable)
Case 19-11334-R Document1 Filed in USBC ND/OK on 06/26/19 Page 10 of 59
B 201B (Form 201B) (12/09) ,

UNITED STATES BANKRUPTCY COURT

NORTHERN District Of OKLAHOMA

Nichols, Tonnie -and- Nichols, Boris Case No.
Debtor

In re

 

Chapter 8

CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
UNDER § 342(b) OF THE BANKRUPTCY CODE

Certification of [Non-Attorney] Bankruptcy Petition Preparer
I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the
attached notice, as required by § 342(b) of the Bankruptcy Code.

Tro ane AG ty) chy ls
Printed name and title, if any, of Bankruptcy Petition Preparer Social Security number (If the bankruptcy petition
Address: preparer is not an individual, state the Social Security

number of the officer, principal, responsible person, or

Dormer ; f partner of the bankruptcy petition preparer.) (Required
x LZ heban . by 11 U.S.C. § 110.)

Signature of Bankruptcy Petition Preparer or officer,
principal, responsible person, or partner whose Social
Security number is provided above.

 

Certification of the Debtor
1 (We), the debtor(s), affirm that 1 (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.

Tonnw _Niebols x dem: heh ala

 

 

Printed Name(s) of Debtor(s) Simeon of Debtor
Case No. (if known) X
Signature of Joint Debtor (if any) Date

 

Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has

NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the
debtor’s attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy
petition preparers on page 3 of Form B1 also include this certification.
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UNITED STATES BANKRUPTCY COURT

NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)

OF THE BANKRUPTCY CODE
In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer
debts: (1) Describes briefly the services available from credit counseling services; (2) Describes briefly the
purposes, benefits and costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you
about bankruptcy crimes and notifies you that the Attorney General may examine all information you supply in
connection with a bankruptcy case.

You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek
the advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court
employees cannot give you legal advice.

Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In
order to ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that
you notify the court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two
individuals married to each other), and each spouse lists the same mailing address on the bankruptcy petition, you
and your spouse will generally receive a single copy of each notice mailed from the bankruptcy court in a jointly-
addressed envelope, unless you file a statement with the court requesting that each spouse receive a separate copy of
all notices.

1. Services Available from Credit Counseling Agencies

With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file
for bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities
for eredit counseling and provides assistance in performing a budget analysis. The briefing must be given
within 180 days before the bankruptcy filing. The briefing may be provided individually or in a group (including
briefings conducted by telephone or on the Internet) and must be provided by a nonprofit budget and credit
counseling agency approved by the United States trustee or bankruptcy administrator. The clerk of the bankruptcy
court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a joint
case must complete the briefing.

 

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total fee $306)

Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing
debts. Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine
whether the case should be permitted to proceed under chapter 7. If your income is greater than the median income
for your state of residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the
trustee, or creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the
Code. It is up to the court to decide whether the case should be dismissed.

Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may
have the right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to
pay your creditors.

The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are
found to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny
Case 19-11334-R Document1 Filed in USBC ND/OK on 06/26/19 Page 12 of 59
Form B 201A, Notice to Consumer Debtor(s) Page 2

your discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.

Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore,
you may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic
support and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations;
certain debts which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused
by operating a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove
that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy
court may determine that the debt is not discharged.

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing
fee, $46 administrative fee: Total fee $281)

Chapter 13 is designed for individuals with regular income who would like to pay all or part of
their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed
certain dollar amounts set forth in the Bankruptcy Code.

Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you
owe them, using your future earnings. The period allowed by the court to repay your debts may be three years or
five years, depending upon your income and other factors. The court must approve your plan before it can take
effect.

After completing the payments under your plan, your debts are generally discharged except for domestic
support obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury;
and certain long term secured obligations.

Chapter 11: Reorganization ($1,167 filing fee, $46 administrative fee: Total fee $1,213)

Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed
with an attorney.

Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)

Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those
whose income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to L nforcement Officials

A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty
of perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or
both. All information supplied by a debtor in connection with a bankruptcy case is subject to examination by the
Attorney General acting through the Office of the United States Trustee, the Office of the United States Attorney,
and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if
this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and
the local rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at

http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.
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Fillin this information to identify your case:
Debtor 1 Tonnie Chicke Nichols
Firat Name Naiddie Name Lest tame
’ Debtor 2 Boris Bernard Nichols
(Spouse, if filing) First Name Middle Namo Last Name
" United States Bankruptcy Court for the: NORTHER District ot_OKLAHOMA
Case number __ () Check if this is an
{if known} _ amended filing
Official Form 106Sum

 

Summary of Your Assets and Liabilities and Certain Statistical Information 12/15
Be as complete and accurate as possible. If two married people aro filing together, both are equally responsibie for supplying correct

Information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your criginal forms, you must fill out a new Summary and check the box at the top of this page.

| Port +: EES Your Assets

 

 

 

 

 

 

 

 

Your assats
Value of what you own
_ 1. Schedule A/B: Property (Official Form 106A/B)
1a. Copy line 55, Total real estate, from Schedule A/B $_115000
. 1b. Copy line 62, Total personal property, frem Schedule A/B $_2700
1c. Copy line 63, Total of all property on Schedule A/B 3117700
Summarize Your Liabilities
Your liabilities
Amount you owe
. 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D............ $ _134000_
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F) 5
oO

3a. Copy the total claims from Part 1 (priority unsecured claims) from line Ge of Schedule E/F...........sccssesseversserercesnesennes

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule EMF... eecssesessesnsernees + $ 161750

 

Your total liabilities g 295750

 

 

 

Summarize Your Income and Expenses

4. Schedule I: Your Income (Official Form 1061)

 

 

Copy your combined monthly Income from line 12 of Schedule | $_1400
_ Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from fine 22c of Schedule J $__2469

Official Form 106Sum Summary of Your Assots and Liabilities and Certaln Statistical Information page 1 of 2
Case 19-11334-R Document1 Filed in USBC ND/OK on 06/26/19 Page 14 of 59

Debtor 1 Tonnie Chicke Nichols Case number (it known),

 

Fret Name Middio Namo Last Name

ieee Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 137

 

Dl No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
¥ yes

 

 

 

7. What kind of debt do you have?

fed Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 404(8). Fill out ines &-9g for statistical purposes. 28 U.S.C. § 159.

! (Q) Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedutes.

 

8. From the Statement of Your Current Monthly income: Copy your total current monthly income from Official
Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. s 1440

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule EF.

Total claim
From Part 4 on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.) $_9
9b. Taxes and certain other debts you owe the govemmment. (Copy line 6b.) s_9
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $_0
9d. Student loans. (Copy fine 6f.) $_9

9a. Obligations arising out of a separation agreement or divorce that you did not report as $ 0
priority claims. (Copy line 6g.)

Sf. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +s) @

 

9g. Total. Add lines 9a through 9f. $__0

 

 

 

Official Form 106Sum Summary of Your Assots and Liabilities and Certain Statistica! Information page 2 of 2
Case 19-11334-R Documenti Filed in USBC ND/OK on 06/26/19

Fillin this information to identify your case and this filing:

Tonnie
“First Rame

Debtor 2 Boris
(Spouse, if filing) Frat Name

Debtor +

Nichols

Lost Nsme

Nichols
Lest Namo

United States Bankruptcy Court for the: NORTHER District of OKLAHOMA

Case number

 

 

 

Official Form 106A/B
Schedule A/B: Property

 

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UI Check if this is an
amended filing

412/15

In each category, separataly list and describe items. List an asset only once. If an aaset fits In more than one category, list the asset In the
category where you think it fits best. Be a3 complete and accurate as possibfo. If two married people are filing together, both are equally
responsible for supplying correct information. If more space Is needed, attach a separate sheet to this form. On the top of any additional pages,

write your name and case number (if known). Answer every question.

Part 1:

Describe Each Residenco, Building, Land, or Other Real Estate You Own or Have an interest In

1. Do you own or have any legal or equitable Interest in any residence, building, land, or similar property?

(my No. Go to Part 2.

[La Yes. Where is the property?
What fs the property? Check ail that apply.
V4 Single-family home

(2 Duptex or multi-unit building

() Condominium or cooperative

(] Manufactured or mobite home

Q) Land

CJ investment property

CJ timeshare

( Other

1.1. House
Street address, if available, or other description

Loe: 8562 E 32nd St

 

 

State ZIP Code

City

 

Who has an interest in the property? Check one.

(J Debtor 1 only

() Debtor 2 only

Debtor 1 and Debtor 2 only

( Atleast one of the debtors and another

 

County

Do not deduct secured claims or axamptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current vatue ofthe Current value of the
entire property? portion you own?

$ 115000 $ 115000

Cescribe the nature of your ownership

interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

Fee Simple

 

C cheek if this ts community property
(see instructions)

Other information you wish to add about this item, such as focal
property identification number: 8562 F 32nd St

If you own or have more than one, list here:

What Is the property? Check all that apply.
CD singte-family home

(2 Duptex or multi-unit building

C) Condominium or cooperative

(J Manufactured or mobile home

Q) tana

C} Investment property

CJ Timeshare

OQ otmer
Who has an interest in the property? Check one.
(2 Debtor 4 only

(2 Debtor 2 only

C2 Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

12.

 

Street addreas, if available, or other description

 

 

City State ZIP Code

 

 

County

Do not deduct secured claims or exemptions. Put
the emount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value ofthe Current value of the
entire proporty? portion you own?

3 $
Describe the nature of your ownership

Interest (such as foe simple, tenancy by
the entireties, or a [Ife estate), if known.

 

CJ Check ff this Is community property
(see instructions)

Other Information you wish to add about this Item, such as local

property identification number:

 

Official Form 106A/B Schedule A/B: Property

page 1
Case 19-11334-R Document1 Filed in USBC ND/OK on 06/26/19 Page 16 of 59

Debtor 1 Tonnie Chicke

Feat Name Mkidie Nama

Nichols

1.3, _
Street address, if available, or cther description

 

 

 

City State ZIP Code

 

County

2, Add the dollar value of the portion you own for afl of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that number here. .............00..:-s-sceccsecsescssssnsensessntssensscepsenescassusseeneaenesesneess >

uw Describe Your Vehicies

Last Nemo

What ts the property? Check ail that apply.
Q Single-family home

Q) Duptex or multi-unit building

C) Condominium or cooperative

(I Manufactured or mobile home

2 tang

CI investment property

CI Timeshare

C2 other

Who has an Interest in the property? Check one.

Cl Debtor 1 only

Q) Debtor 2 only

(Cl) Dabtor 1 and Debtor 2 only

UI At least one of the debtors and another

 

Case number (known),

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ §

Describe the nature of your ownership
interest (such as fee slmpte, tenancy by
tho entireties, or a tife estate), If known.

 

CD Check if this Is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

 

gs 115000

 

 

 

 

Do you own, lease, or have tegal or equitable interest In any vehicles, whether they are registered or not? Inctude any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

[C.Nno
[Yes
3.1. Make: Ford
Model: F150
Year: 2005
Approximate mileage: 180000
Other information:

 

red 4 Door Truck Rebuild

 

 

 

if you own or have more than one, describe here:

3.2, Make:
Model:
Year:
Approximate mileage:
Other information:

 

 

 

 

Official Form 1084/8

Who has an interest In the property? Chack one.

Cl Debtor 1 only

( Debtor 2 only

@i Debtor 1 and Debtor 2 only

(CJ At teast one of the debtors and another

Ci cheek if this is community property (see
instructions)

Who has an interest in the property? Check one.
C) Debtor 4 only

Cd Debtor 2 onty

C2 Debtor 1 and Debtor 2 only

(C2 At teast one of the debtors and another

(J Check if this Is community property (see
instructions)

Schedute A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value ofthe Current value of the
entire property? portion you own?

$ 1200 $ 1200

Do not deduct secured claims or axemptions. Put
the amount of any secured clans on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value ofthe Current value of the
entire proporty? portion you own?

page 2
Case 19-11334-R

 

Debtor 1 Tonnie Chicke Nichols Case number ¢tnoe
Firat Namo Midds Name
3.3. Make: Who has an interest In the property? Check one.
Model: [Debtor 1 only
Year: Debtor 2 only
‘ Debtor 1 and Debtor 2 only

Approximate mileage:
Other information:

 

 

 

 

3.4. Make:
Model:
Year:
Approximate mileage:
Other information:

 

 

 

J At least one of the debtors and another

() Check if this is community property (see
instructions)

Who has an Interest in the property? Check ona.
fo Debtor 1 only
G2 Debtor 2 only
(23 Debtor 1 and Debtor 2 only
(J) At feast one of the debtors and another

  
 
  

(2 Check if this is community proparty (see
instructions)

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Do not deduct secured claims or exemptions. Put
tha amount of any secured claims on Schedule D:
Greditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value ofthe Current vatue of the
entire property? portion you own?

$ §

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

[a No
[CT Yes

4.1, Make:
Model:
Year:
Other information:

 

 

 

If you own or have more than one, list here:

 

 

 

 

 

Who has an Interest In the property? Check one.

C2) Debtor 4 enty

() Debtor 2 only

(2 Debtor 1 and Debtor 2 only

C2 At least one of the debtors and another

(2 Check if this is community property (sce
instructions)

Who has an interest In the property? Check one.

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current vatue of the Currant value of the
entire property? portion you own?

 

 

 

4.2. Make: Do not deduct secured clains cr exemptions. Put
QQ) vebtor 4 ont the emount of any secured claims on Schedule D:
Model: ¥ Creditors Who Have Claims Secured by Property.
Year: (2 Debtor 2 only
2 Debtor 1 and Debtor 2 only cure rorort of the vortionyoucen?
Other information: (C21 At least one of the debtors and another Pern
(2 Check if this ts communtty property (sce $, $
instructions)
5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages 1200
you have attached for Part 2. Write that number here >
Official Form 1064/B Schedule A/B: Property page 3
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Debtor 1 Tonnte Chicke Nichols Case number (known,
First Name. Middio Namo Last Name

Zaeere Describe Your Personal and Household items

 

 

Do you own or have any legal or equitable Interest in any of the following items? . artion. vole?
Do not deduct secured claims
or exemptions.

6. Household goods and furnishings

Examples: Major appliances, furniture, finens, china, kitchenware

[2 No a - on er ee

[fl Yes. Describe......... Washer And Dryer Whirlpool - 8562 E 32nd St ¢ 200
7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music

collections; electronic devices including call phones, cameras, media players, games
[Di No
HA Yes. Descrite....... | Pe Desktop Computer - 8562 E 32nd St g 200

 

 

8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

 

 

9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, poo! tables, golf clubs, skis: canoes
and kayaks; carpentry tools; musicalinstruments —

No bee wee

[a Yes. Describe.......... | §

 

 

10. Firearms
Examples: Pistols, riflas, shotguns, ammunition, and related equipment

 

 

 

 

11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
[2 no
[Yl Yes. Describe.......... Clothes - 300 ¢.300

 

 

 

 

12, Jawelry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver

 

 

 

 

13. Non-farm animals
Examples: Dogs, cats, birds, horses

1A no eo — ee

 

 

14. Any other personal and household items you did not already fist, including any health aids you did not list

 

 

 

 

I No
[CV ves. Give specific | 5
information. ..........04
15. Add the dollar value of all of your entries from Part 3, Including any entries for pages you have attached gs 1500
for Part 3. Write that number here >

 

 

 

Official Form 106A/B Schedula AIB: Property page 4
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Debtor 4 Tonuie Chicke Nichols Case number uttneen)
Finttame "Weide Name Lest Name

ius Describe Your Financial Assets

 

 

Do you own or have any legal or equitable Interest [n any of the following? Current value of the
portion you own?
Do not deduct secured claims
or exemptions.
16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
wa No
[ves COGN oo ccssessecsecseee $
17. Deposits of money

Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

A no
fa YOS .....ecscseceseesees Institution name:
17.1. Checking account: $
17.2. Checking account: $
17.3. Savings account: $
17.4, Savings account $
17.5. Certificates of deposit: $
17.6. Cther financial account: $
17.7. Other financial account: $
17.8. Other financial account: 5
17.9, Other financial account: 3
18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
a No
(a YVOS ..eeeecsesees Institution or issuer name:
$
$
$
18. Non-publicly traded stock and interests in incerporated and unincorporated businesses, including an Interest in
an LLC, partnership, and joint venture
ai No Name of entity: % of ownership:
[CT ves. Give specific % $
information about
them % $
% $

 

Official Form 106A/B Schedule AB: Property page 5
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Debtor 1 Teonnie Chicke Nichols Case number ¢ knoany
Fist Name Middle Namo Last Name

20, Government and corporate bonds and other negotiable and non-negotiabie Instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

a No
[Clives. Give specific _ Issuer name:
information about
TheM.......ceeecccecsee $
$
3
21. Retirement or pension accounts
Examples: interests in (RA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
a No
(D ves. List each
account separately. Type of account: Institution name:
401 (k) or similar plan: $
Pension plan: $
IRA: $
Retiremant account $
Keogh: $.
Additional account $
Additional account: $
22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others
(a No :
*
ae institution name or individual:
Electric: $
Gas: $
Heating oil: $
Security deposit on rental unit $
Prepaid rent: $
Telephone: $
Rented furmiture: $
Other: $
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
[A No
CO VS oeesssscscssssesnetec issuer name and description
$
$
$

 

Official Form 106A/B Schedule A/B: Property page 6
Case 19-11334-R Document1 Filed in USBC ND/OK on 06/26/19 Page 21 of 59

Debtor 1 Tonnie Chicke Nichols Case number drknown)
Fit Name “Maddie Name Laat Namo

 

 

24. Interests in an education IRA, in an account In a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

Zi No

FD Oe nnn Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

Ii no

iQ Yes. Give specific |
information about them... | 3.

 

 

 

26. Patents, copyrights, trademarks, trade secrets, and other Intellectual property
Examples. Intemet domain names, websites, proceeds from royalties and licensing agreements

fyZI No

i) Yes. Give specific |
information about them....; $

 

 

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

Wd No

ja Yes. Give specific
information about them... $

 

 

 

Money or property owed to you? 7 Current value of the

portion you own?
Do not deduct secured

claims or exemptions.
28. Tax refunds owed to you

i No

(a Yes. Give specific information
about them, including whether
you already filed the retums
and the tax years, .................0 |

 

 

 

29. Family support
Examples: Past due or lump sum alimony, spousal! support, child support, maintenance, divorce settlement, property settlement

Zi No

(a Yes. Give specific information.............. |

| Alimony:

: Maintenance:

| Support:

| Divorce settlement
|

AAS fh th

‘ Property settlement:

 

30. Other amounts someones owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
- Social Security benefits; unpaid loans you made to someone else
a No

[UT Yes. Give specific information............ [

 

Official Form 106A/8 Schedule AB: Property page 7
Case 19-11334-R Document1 Filed in USBC ND/OK on 06/26/19 Page 22 of 59

Debter 4 Tonnie Chicke Nichols Case number tr known,
First Nama Midde Ramo Lest Name

31. Interests In insuranco policies
Examples: Health, disability, or fife insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ai No
f Yes. Name the insurance company sg, : Beneficiary: Surrender or refund value:
of each policy and list its value. ... ompany name ¥-
$
$
$
32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.
[Zi No ee
fa Yes. Give specific information.............. i $
33. Claims against third parties, whather or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue
[No
[CP Yes. Deseribe each claim. ssc |
: 3
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims
ja No
[EE Ves. Describe each claim. .asccseaus :
35. Any financial assets you did not already list
[i no ) Sane
=} Yes. Give specific information............ | $
36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here > Is

 

 

 

 

Was Describe Any Business-Related Property You Own or Have an Interest [n. List any real estate In Part 1.

 

37.Do you own or have any legal or equitable interest In any business-related property?
ia No. Go to Part 6.
[C2 Yes. Go to line 38.
Current value of the

 

 

 

 

 

portion you own?
Deo nat deduct secured claims
of exemptions.
38. Accounts receivable or commissions you already earned
wi No
[CF Yes. Describe....... |
_ ®
39. Office equipment, furnishings, and supplies
Examptes: Business-retated computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
a No
fa Yes. Describe....... : s

 

Official Form 106A/B Schedute AJB: Property page 8
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Debtor 4 Tonnie Chicke Nichols Case number (it sown),
First Nemo Miidie Name Last Name

 

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

[i No

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

fo Yes, Describe......! .
ee _.
41. Inventory
No |
fa Yes. Deseribe....... $
42. Interests in partnerships or joint ventures
No
[a Yes. Describe oneense Name of entity % of ownership:
% §
% SO
% Ss
somes lists, malting lists, or other compilations
No
fa Yes. Do your lists include personally Identifiable information (as defined in 11 U.S.C. § 101(41A))?
[D) No
ja Yes. Describe........ | $
|
44, business-related property you did not already list
‘No
[C2 Yes. Give specific $
information. .........
$
$
3
$
$.
45. Add the dollar values of all of your entries from Part 5, Including any entries for pages you have attached $ 0
for Part 5. Write that number here >

 

 

 

 

ee Oescribe Any Farm- and Commercial Fishing-Retated Property You Own or Have an Interest En.
tf you own or have an interest in farmland, [ist it in Part 1.

 

46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
No. Go to Part 7.
[TI Yes. Go to line 47.

 

Current value of the
portion you own?
Do not deduct secured claims
cr exemptions.
47. Farm animats
Examples: Livestock, poultry, farm-raised fish
a No
fa VES ..ceccsssesesssestenseed
$.

 

 

 

Official Form 106A/6 Schedule AJB: Property page 9
Case 19-11334-R Documenti Filed in USBC ND/OK on 06/26/19
ennie Chicke

T
Fist name Miadio Name

Nichols

Lost Nemo

Debtor 1 Case number 7 known),

48. Crops—either growing or harvested

Zi No

Page 24 of 59

 

ja Yes. Give specific

information.............

 

 

 

49. Farm and fishing equipment, implaments, machinery, fixtures, and tools of trade

 

 

| — a

 

 

 

 

 

 

 

tL -

52. Add the dollar value of all of your entries from Part 6, Including any entries for pages you have attached
for Part 6. Write that number hero

 

>

 

Part 7:

 

 

 

Describe All Property You Own or Have an Interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already list?
Exampies: Season tickets, country club membership —

 

[Zi no

|CT Yes. Give specific
information..............

 

 

 

 

 

54. Add the dollar value of all cf your entries from Part 7. Write that number here

List the Totals of Each Part of this Form

 

 

 

 

55. Part 1: Total raal estate, IIne 2

115600

 

 

56. Part 2: Total vehicles, line § $ 1200
1500
57. Part 3: Total personal and houschold items, line 15 $
598.Part 4: Total financial assats, ine 36 3
59. Part §: Total business-related property, line 45 $ o
60. Part 6: Total farm- and fishing-rolated property, lino 52 3°
61. Part 7: Total other property not fisted, line 54 +39
. | 52700
62. Total personal property. Add lines 56 through 61. ................ $

{

 

83. Total of all property on Schedule A/B. Add line 55 + line 62.

Official Form 106A/B Schedule A/B: Property

jCoPy personal property total > +s 2700

 

g_ 117700

 

 

 

page 10
Case 19-11334-R Document1 Filed in USBC ND/OK on 06/26/19 Page 25 of 59

Attachment To Schedule B: Item 06 - Household goods

Description: Couche And Chair,dinner Table, - 8562 E 32nd St
Case 19-11334-R Document1 Filed in USBC ND/OK on 06/26/19 Page 26 of 59

Fillin this information to identify your case:

Debtor 1 Tonnie Chicke Nichols
First Name

Midd Name Lect Nemo

Debtor 2 Boris i
(Spouse, if fillng) Fist Name Middle Name Last Namo

United States Bankruptcy Court for the: NORTHER District op OKLAHOMA

 

 

 

Case number OQ) Check if this is an
(known) amended filing

Official Form 106C

Schedule C: The Property You Claim as Exempt 04g

 

Be as complete and accurate as possible. If two maried people are filing together, both are equally responsible for supplying correct information.

Using the property you fisted on Schedule A/B: Property (Official Form 106A/8) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each Item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory Simit, Somo exomptions—such 2s those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular doilar amount and the value of the property is detarmined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

BEEEEE teontity the Property You Claim as Exempt
1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

C1 You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
( You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and lineon Current value of the Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule A/B that lists this property portion you own

Copy the value from Check only one box for each exemption.

Schedule AB
Brief Clothes 31-1(ay{ 8);
description; © ————-———-._._ 4.300 Os
Line from 644 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief red 4 Door Truck Rebuild

slaty
description: $1200 Us
Line from (@ 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Dell Desktop Computer

Brief 31-161 3),,07;
description: $200 Qs
Line from (2 100% of fair market vatue, up to
Schedule A/B: any applicable statutery limit

3. Are you claiming a homestead exomption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
W No
C3 Yes. Did you acquire the property covered by the exemption within 1,215 days before yau filed this case?
OQ) No
OQ Yes

Official Form 106C Schedute C: The Property You Ciaim as Exempt page 1 of __
Debtor 1

Case 19-11334-R Document1 Filed in USBC ND/OK on 06/26/19 Page 27 of 59

 

Tonnte Chicke Nichols
Feet Nemo Midde Nome Last Name
Additional Page

Case number (7 known).

 

Brief description of the property and line

Current value of the Amount of the exemption you claim

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

on Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption
Schedule A/B
Brief Washer And Dryer
description; Whirlpool $200 Os
Line from 044 100% of fair market value, up to
Schedule A/B: any applicable statutory Hmit
Brief Couche And Chair,dinner = — eng
description: Fable; $. Os
Line from fd 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief Beds Full,twin Bunk Beds,1 200
description: Fre $ Os
Line from GJ 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
House
Brief
description: g 115000 Os
Line from i 100% of fair market value, up to
Schedule A/B: —— any applicable statutory limit
Brief
description: § Os
Line from 2 100% of fair market value, up to
Schedule AB: ———- any applicable statutory limit
Brief
description: $ Os
Line from ©] 100% of fair market value, up to
Schedule A/B: any applicable statutory Himit
Brief
description: $ Os
Line from Cl 100% of fair market value, up to
Schedule AB: any applicable statutory limit
Brief
description: $ Os
Line from C2) 100% of fair market value, up to
Schedule AB: —-—~ any applicable statutory limit
Brief
description: § Os
Line from CJ 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from C2 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: §, Os
Line from (2 100% of fair market value, up to
Schedule AB: ———— any applicable statutory limit
Brief
description: 5, Os
Line from CJ 100% of fair market vatue, up to
Schedule A/B: ~~ any applicable statutory limit

Official Form 106C

Schedule C: The Property You Claim as Exempt

Specific laws that allow exemption

31-1(a)(3), (9), 07);

 

 

 

 

 

 

31-1(a)(1), 31-1(a){ 2),31-25

 

 

 

31-1(a)(1), 31-1(ay{ 2),31-23

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

page __ of __
Case 19-11334-R Documenti Filed in USBC ND/OK on 06/26/19

Fillin this information to identify your case:

Debtor 4 Tonnie

Chicke

Nichols

 

Fest Name
Debtor2 __Boris

Middte Name
Bernard

Lest Name

Nichols ©

 

(Spouse, if fling) Fint Name

Middle Nemo

Lost Nanse

United States Bankruptcy Court for the, NORTHER pjstrict of OKLAHOMA

 

Case number

 

(tf known)

 

Official Form 106D

 

Schedule D: Creditors Who Have Claims Secured by Property

Page 28 of 59

Cl Check if this is an
amended filing

12/16

Be as complete and accurate as possibte. If two married people are filing together, both ara equally responsible for supplying correct
information. If more space is needed, copy the Additional Pagg, fill it out, number the entries, and attach it to this form. On tho top of any
additional pages, write your name and case number (If known).

1. Do any creditors have claims secured by your property?
(Cy No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

[Vl Yes. Fill in all of the information below.

List All Secured Claims

i
(
t
(
!

 

i
t
|
|

 

2. List all socured claims. [f a creditor has more than one secured claim, list the creditor separately amount of claim
for each claim. !f more than one creditor has a particular dlaim, list the other creditors in Part 2.

As much as possible, list the claims in alphabetical order according to the creditor's name.

[24} Us Bank Associates

 

Craditor’s Name

Po Box 211128
Number Street

 

Egan MN 55121-4201

City State” ZIP Code
Who owes the debt? Check one.
CJ cebter 1 only
(C3 Debtor 2 only

( Debtor 1 and Debtor 2 only
(C2 Atteast one of the debtors and another

L) Check if this claim retates to a
community dobt

 

 

Describe tho property that secures the claim:

Column A Column B Columnc |
Value of collateral Unsecured ;

Do not deduct the that supports this portion

value of collateral. claim If any

$1340) sss uusngn ss 000

 

 

House

 

 

As of the date you file, the claim is: Check ail that apply.

 Centingent

OD untquidsted

D) Disputed

Nature of lien. Check all that epply.

(2 An agreement you made (such as mortgage or securad

car foan)
C1 Statutory lien (such as tax lien, mechanic's Gen)
2 Judgment fien from a tawsuit
@ ciher (inctuding a right to offest) Mortgage

 

 

 

 

 

 

 

 

 

 

 

 

|__Datedebtwas incurred 11/2008 _—hastadigits ofaccountnumbor ®t
2.2} Deseribe the property that secures the claim: $ $ $s |
Crodttor’s Name |
Number Stroat |
As of the date you file, the claim fs: Check all that apply. ;
2 Contingent
— _ 0 uUntiquidsted |
City Stata ZIP Code Q Disputed
Who owes the debt? Check one, Nature of lien. Check aif thet apply.
(2 Debtor 1 onty (2 An agreement you made (such as mortgage or secured
UO Debtor 2 onty car loan)
CD vebtor 1 and Debter 2 onty CG statutory tien (such as tax lien, mechanic's Hien)
Cl) Atteast one of the debtors and another coment en fom owe
: Other (including a right to offset)
C2 Check if this claim retatas to a (including a A
community debt
Date debt was incurred Last 4 digits of account number.
| Add the dollar vaiuo of your entries In Column A on this page. Write that number here: Baz4ngo |

 

Official Form 106D

 

Schedule D: Creditors Who Have Clalms Secured by Property

page 1of__
Debtor 1

Oebtor 2
{Spousa, if filing) Feet teme

Case 19-11334-R Documenti Filed in USBC ND/OK on 06/26/19

Fill in this information to identify your case:

Tonnie Chicke

Nichols

 

Fett Nema
Baris

Widdlo Namo
Bernard

Lact Name
Nichols

 

Middle Name

Case number

Lest Nema

United States Bankruptcy Court for the: NORTHER pjgtict op OKLAHOMA

 

(if known)

 

 

Official Form 106E/F

 

Schedule E/F: Creditors Who Have Unsecured Claims

Page 29 of 59

CJ Check if this is an
amended filing

12/15

 

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the cther party to any oxecutory contracts or unexpired leases that could result ina claim. Also list executory
AB: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066). Do not include any
creditors with partially secured claims that are listed tn Schedule D: Creditors Who Have Claims Secured by Property. if more space ts
needed, copy the Part you noed, fill It out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

List All of Your PRIORITY Unsecured Claims

contracts on Schedule

 

4. Do any creditors have priority unsecured claims against you?

LA No. Go to Part 2.
‘Yes.

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. if a claim has both priority and nonpriority amounts, list that calm here and show both priority and
nonpriority amounts. As much as possible, fist the claims in alphabetical order according to the creditor's name. ff you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Total claim Priority Nonpriority
amount amount
2.1
Last 4 digits ofaccountnumber_ ss CS $. §
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you fife, the claim is: Check ail that apply.
City Stata ZIP Code CD Contingent
CO) untiquidated
Who [ncurred the debt? Check one. 2 pisputed
Q] Debtor 1 onty
C2 Debtor 2 only Type of PRIORITY unsecured ctaim:
Fy Dobe an Debtor 2 ony 0 Domestic support obtigations
At least one of the debtors and another C] Taxes and certain other debts you owe tha govamment
QO Check if this claim is fora community debt = -) Claims for death or personel injury while you were
; 1s the claim subject to offset? intoxicated
One C2 other. Specify
(2 Yes
p2 Last 4 digits ofaccountnumber gg $ $
Priority Creditors Name
When was the debt incurred?
Number Strest
As of the date you file, the claim is: Check all that apply.
CJ contingent
Cy State ZIP Code Cl untquidated
Who incurred the debt? Check one. C2 Disputed
©) Dettor 1 only
PRI
QO 2 only Type of PRIORITY unsecured claim:

Official Form 106E/F

C Debtor 1 and Debtor 2 only
C2 At feast one of the debtors and another

TD Check if this claim Is for a community debt

ts the clalm subject to offsot?
Ono
(2 ves

OC Domestic support obligations

0 Taxes and certain other debts you owe the government

© Clzims for death or persenal injury while you were
intoxicated

Ci other. Specify

 

Schedule E/F: Creditors Who Have Unsacured Claims

page 1 of,
Case 19-11334-R Document1 Filed in USBC ND/OK on 06/26/19 Page 30 of 59

Tonnie Chicke

Feeet Name Mikio Name

Debtor 1

Nichols
Losi Name

' Case number (mown)

Your PRIGRITY Unsecured Claims — Continuation Page

After tisting any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.

(J

 

 

 

 

Priority Creditors Name
Number Street
City State ZIP Code

Who incurred the debt? Chack one.

C Debtor + onty

C2) Debtor 2 only

better 1 and Debtor 2 only

() At least one of the debtors and enother

Cl Check éf this claim is for a communtty debt

 

 

 

 

Is the claim subject to offset?

Ono

Q Yes

Priority Creditors Nama

Number Strect

Clty State ZIP Code

Who incurred the dabt? Chack one.

Q) petior 1 onty

C) debtor 2 onty

C2 Debtor 1 and Debtor 2 onty

2 At teast one of the debtors and ancther

©) Check if this claim is for a community debt

ts the claim subject to offset?

Oi Ne
Q Yes

5

 

Priority Creditors Name

 

Number Street

 

 

City Stata ZIP Code

Who incurred the debt? Check one.

(2 Debtor 1 only

2 Debtor 2 onty

2 Debtor 1 and Debtor 2 only

2 Atleast one of the debtors and another

© Check if this claim is for a community debt

ts the claim subject to offset?

QI No
Q Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Totat claim Priority

amount amount

Last 4 digits of account number __

When was the debt incurred?

As of the date you file, the claim ts: Check aij that apply.

CJ Contingent
O unliquidated
C) Disputed

Type of PRIORITY unsecured clalm:

C] Domestic support obligations
C) Taxes and certain other debts you owe the govemment

C2 Claims fer death or personal! injury while you were
intoxicated

OQ other. Spocity

 

 

Last 4 digits of account number

When was the debt Incurred?

 

As of the date you file, the clalm fs; Check all that apply.
2) Contingent

 Unfiquidated

Q Disputed

Type of PRIORITY unsecured claim:

C1 Domestic support obligations
Taxes and cartain other debts you owe the government

C2 Claims for death or personal injury while you were
Intoxicated

C2 other. Spesity

 

Last 4 digits of account number ___ % $ $

Nonpriority _

 

When was the debt incurred?

As of the date you file, the claim Is: Check all that apply.
J Contingent

(2 Uniquidated

C2 pisputed

Type of PRIORITY unsecured claim:

C2 Domestic support obligations
OC) taxes and cartain other debts you owe the government

QO) Claims for death or personai injury while you were
intoxicated

 

 

2 other. Specify

 

page __ of
Case 19-11334-R Document1 Filed in USBC ND/OK on 06/26/19 Page 31 of 59

Nichols

Lost Name

Debtor 1 Tonnie Chicke
First Name

Middle Name

List All of Your NONPRIORITY Unsecured Claims

Case number (7 known),

 

3. (m any creditors have nonpriority unsecured claims against you?
n

No. You have nothing to report in this part. Submit this form to the court with your ofher schedules.

Ea Yes

4. Ust all of your nonpsiortty unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, Identify what type of claim it is. Do not fist claims already
included in Part 1. If more than one creditor holds a particular claim, list the cther creditors in Part 3.If you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

Total claim
fs] Amsher Collection Sves Last 4 digits of account number 8397, __
Nonpriorily Groditors Name $_1084
4524 Southlake Pkwy #15 When was the debtincurred? _05/22/2018
Number Street
Hoover AL 35244
Cay State ZIP code As of the date you file, the claim is: Check ail that apply,
Contingent
Who Incurred the debt? Check ona. C) Untiquidated
4 Debtor 1 onty | Disputed
© Debtor 2 only
OQ Debtor 4 and Debtor 2 only Type of NONPRIORITY unsecured claim:
C) Atteast one of the debtors and another 2 Student toans
QO Obtigations arising out of a separation agreement or divorce
O Check if this claim ts for a community debt that you did not report aa priory claims
1s the claim subject to offset? © Debts to pension or profit-sharing plans, and other similar debts
No GJ other. Specify Credit Card Clothes
ves
he | Credit One Bank Last 4 digits of account number _2*XX $ 666
] Nenpricrtly Creditors Name When was the debt Incurred? = __ 5/24/17
6801 S Cimarron Rd
Number Streat
las V NV 89113 As of the date yau file, the claim is: Check aii that apply.
City State Zip Code 2 Contingent
Who incurred the debt? Check one. C3 Untiquidated
Debtor 1 only CI Disputed
QO Debtor 2 onty
©) Detter 4 and Debtor 2 oniy Type of NONPRIORITY unsecured claim:
C2 Atteast one of the debtors and another 5 Student loans
Obligations out of a separation agreement or divorce
OQ) Check if this claim ts for a community debt that you i not rot ca priority latins”
is the claim subject to offset?- (J Debis to pension or profit-sharing plans, and other similar debts
Wi No WU other. Specify Credit Card
O Yes
$ | Navient School Loan Last 4 digits of account number _— 6 160000
on 5 Name When was the debt incurred? 02/12
Po Box 9635
Number Strat
Wilkes Barre PA 18773 .
Gy Suis Sit Code As of the date you filo, the claim is: Check all that apply.
OQ Contingent
Oe ane , debt? Check one. O unig
Debtor 1 on CO) bisputed
CO Debtor 2 onty

@ debtor 1 and Debtor 2 only
(CD Atteast one of the debtors and another

Q Cheek if this claim is for a community debt

ts the claim subject to offset?
@ wo
QD Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Type of NONPRIORITY unsecured claim:

2 student toans

© Obtigations arising out of a separation agreement or divorce
that you did not report as priority claims

{2 Debts to pensicn or profit-sharing plans, and other similar debts
(A Other. Specify SchoolLean

page. _ of
Case 19-11334-R Document1 Filed in USBC ND/OK on 06/26/19 Page 32 of 59

Debtor 1 Tonnie Chicke Nichols
Middle fia!

Fost Name re Lost Nema

Case number (irknown),

Your NONPRIGRITY Unsecured Claims — Continuation Pago

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

' After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
Last 4 digits of account number §
Nonprlorily Craditors Namo
When was the debt incurred?
Number Steet As of the date you file, the claim is: Check all that apply.
Cy Stato Zip coda OD Contingent
C) uniquidated
Who incurred the debt? Check one. C2 bisputea
G3 pebtor 1 only
C Debtor 2 onty Type of NONPRIORITY unsecured claim:
©) Detter 1 and Debtor 2 onty (J student toans
() At teast one of the debtors and another C) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
CQ Chack if this claim ts for a community debt C2 Debts to pension or profit-sharing plans, and other similar debts
is the clalm subject to offset? CO other. Specify,
Gi No
Ol ves
Last 4 digits of account number 0 $s
Ronpriorily Creditors Nama
When was the debt incurred?
Number “Buse As of the date you file, the claim Is: Check ail that apply.
thy State Zip Code 2 Contingent
2 uniquidated
Who Incurred the debt? Check one. CO Disputed
C2) vebtor 1 only
C Dehtor 2 only Type of NONPRIORITY unsecured claim:
C2) Debtor 1 and Debtor 2 only © student foans
() At least one of the debtors and another 0 obtigations arising out of a separation agraement or divores that
you did not report as priority claims
(2 Check #f this claim is for a community debt (2 Debts to pension of profit-sharing plans, and other similar debts
is the claim subject to offset? C) other. Specify
No
C) Yes
L_] s
Last 4 digits of account number
Nonprtority Creditor’s Name
When was the debt incurred?
N Street As of the dats you file, the claim is: Check ai! that apply.
Gy State ZiP code C) Contingent
QO) Uniquidated
Who Incurred the debt? Check ane. C2 disputed
(2 pettor 1 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim:
OQ] Debter 1 and Debtor 2 only G2 stucent loans
0) At Isast one of the debtors and another (2 cbiigations arising cut of a separation agreement or divorce that
you did not report as priority claims
CO) Check if this claim ts for a community dobt (2 Debts to pension of profit-sharing plans, and other similar debts
Is the claim subject to offset? C other. Specify,
Ono
CQ ves

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Clalms page__ of
Case 19-11334-R Document1 Filed in USBC ND/OK on 06/26/19 Page 33 of 59

Debtor 4 _Tonnie Chicke Nichols

 

First Namo Middie Nemo Last Nema

Add the Amounts for Each Type of Unsecured Claim

Case number (known),

 

6. Total the amounts of certain types of unsecured claims. This Information Is for statistical reporting purposes only. 28 U.S.C. § 159.

Add the amounts for each type of unsecured claim.

Total claims 6a. Domestic support obligations

pen Part 1 6b. Taxes and certain other debts you owe the

government

6c. Claims for death or personal injury while you were
intoxicated

6d. Other. Add all other priority unsecured claims.
Write that amount here.

6e. Total. Add lines 6a through 6d.

Total claims 6f. Student toans

from Part2 64. obligations arising out of a separation agreement
or divorce that you did not report as priority
claims

6h. Debts to pension or profit-sharing plans, and other
similar debts

6i. Other. Add all other nonpriority unsecured claims.
Write that amount here.

6j. Total. Add lines 6f through Gi.

6b.

6c.

6f.

6h.

6i.

6j.

 

 

 

 

 

Total claim
$__ 9
3 0
$__9
+s 06
3 0
Total claim
$__0
$__90
s_ 90
+s 161750
$___ 161750

 

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page __ of
Case 19-11334-R Document1 Filed in USBC ND/OK on 06/26/19 Page 34 of 59

Fillin this information to identify your case:

Debtor Founie Chicke Nichols
"Pret Ramo Wiidle Name Lesittcme

 

Oebtar 2 Boris Bernard Nichols

(Spouse # filing) First Name Middle Nemo Lest Nemo
United States Bankruptcy Court for the NORTHERb istrict cf OKLAHOMA
Case number

(it known) C) Check if this is an
amended filing

 

 

 

Official Form 106G

Schedule G: Executory Contracts and Unexpired Leases 1245

Be as complete and accurate as possible. if two married peopte aro filing together, both are equatly responsible for supplying correct
information. If more space is needed, copy the additional pags, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (If known).

 

 

1. Do you have any executory contracts or unexpired teases?
i No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
(C7 Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or tease Is for (for

example, rent, vehicle lease, cell phonsa). See the instructions fer this form in the instruction booklet for more examples of executary contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

2.1

 

 

Number Street

 

City State ZIP Code
2.2

Neme

 

 

Number Street

 

_ oly. . State ZIP Code
23

 

 

Number Street

 

City State ZIP Code
24

 

Neme

 

Number Street

 

City State ZIP Coda
2.5:
Name

 

 

Number Street

 

City Stata ZIP Code

Official Form 108G Schadule G: Executory Contracts and Unexpired Leases page tof
Case 19-11334-R Document 1 Filed in USBC ND/OK on 06/26/19 Page 35 of 59

Debtor 1

First Namo

 

Tonnie Chicke Nichols Case number (known),
Lest Name

p | Additional Page if You Have More Contracts or Leases

2.6

2.7)
LH

Person or company with whom you have the contract or lease

 

Name

 

Number

Street

 

City

Zip Code

 

Name

 

Number

 

2iP Code

 

Name

2.441

Official Form 106G

 

Number

 

ZIP Gade

 

 

Number

Street

 

State

ZIP Code

 

Name

 

Number

 

ZIP Code

 

Name

 

Number

 

ZIP Code

 

 

Number

 

Gity

ZIP Code

 

 

 

“ZIP Code

Schedule G: Executory Contracts and Unexpired Leases

 

What the contract or lease Is for

page__ of
Case 19-11334-R Document1 Filed in USBC ND/OK on 06/26/19 Page 36 of 59

 

 

 

 

Fillin this information to identily your case:
Debtor1 Tonnte Chicke Nichols

Flret Nene Middle Nemo Last Nemo
Oebtorz2 Boris Beraard Nichols
(Spouse, # filing) FirstName Middio Name Lest Namo

United States Bankruptcy Court for hNQRTHER District ot OKLAHOMA

 

 

 

Case number
{Wt known) Q) Check if this is an
amended filing
Official Form 106H
Schedule H: Your Codebtors 12/15

 

Codebtors are people or entitles who are also table for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space Is needed, copy the Additional Pago, fill It out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

1. Bo you have any codebtors? (if you are filing a joint case, do not list either spouse as a codebtor.)
(a No
C) Yes

' 2, Within the last 8 years, have you livad in a community property state or territery? (Community property states and territories include
Arizona, Califomia, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

C3 No. Go to line 3.
Q Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
QO No
© Yes. tn which community state or territory did you live? . Fit in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivaient

 

Number Street

 

City Stata ZIP Code

3. In Cotumn 1, tist all of your codebtors. Do not include your spouse as a codebtor if your spouse Is filing with you. List the person
shown in [Ine 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 166D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form t06G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
Check all schedutes that apply:
3.1
i Q) Schedule D, line
ane
Q) Schedule Ef, line
Number Street O) ScheduleG, line
Cty State ZiP code
3.2
ane Q) Schedule D, line
OQ Schedule Ef, tine
Number Stree! OG Schedule G, line
Ciy Stato ZIP Code
3.3
ane C1 Schedule D, fine
C) Schedule EFF, line
Number Street () Schedule G, line

 

gl
E

ZIP Coda

Official Form 106H Schedule H: Your Codebtors page 1 of ____
Case 19-11334-R Document1 Filed in USBC ND/OK on 06/26/19 Page 37 of 59

Debtor 1 Tonnie Chicke
Firathame

Midde Name

Nichols
Lact Name

Case number (7 tmown),

| Page to List More Codebters

Cofumn 1: Your codebtor

EF]

Column 2: The creditor to whem you owe the debt

Check all schedules that apply:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

lane (2 Schedule D, line
OQ Schedule E/F, line
Number Street O) ScheduleG, line
E | City Sisto ZIP Code
Naie (2 Schedule D, line
(2 Schedule E/F, line
Number Streat O Schedule G, line
Chy State ZIP Gode
pL] ane CQ) Schedule D, tine
QC) Schedule EF, line
Humber Street 1 Schedule G, fine
Clty State ZIP Code
p-| one Q) Schedule 0, tine
OQ) Schedule Ef, line
Number Street O Schedule G, line
FJ City "Stato ZiP Code
Sane Q Schedule D,tine
O Schedute Ef, line
Number Street C} Schedule G, line
FJ City Sate ZIP Code
Name Q) Schedule D, fine
O Schedule E/F, line
Number Street QJ Schedule G, line
F] City Stata ZIP Code
r Namo () Schedule D, line
© Schedule Ef, line
Number Stroat QO) ScheduleG, line
: City Stata ZIP Coda
6.)
Name } Schedule D, line
QO Schedule EF, line
Number Steet OC) Schedule G,line_
i ZIP Cota
Official Form 106H Schedule H: Your Codebtors page__ of
Case 19-11334-R Document1 Filed in USBC ND/OK on 06/26/19 Page 38 of 59

Fill in this information to identify your case:

Debtor:  Tonnie Chicke Nichols
Firet Namo Mkidie Name Last Nema

Debtor 2 Boris Bernard Nichols

(Spouse, iffiling) frst Name Middle Name Lest Name

United States Bankruptcy Court for the: NORTHER istrict of OKLAHOMA

Case number Check if this is:
(if knewn)
C} An amended filing
Cl A supptement showing postpetition chapter 13

 

 

 

income as of the following date:
Official Form 1061] MM 7 ODT YYYY
Schedule I: Your Income 12115

 

Be as complete and accurate as possible. if two married peopte are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse Is living with you, Include information about your spouse.
if you are separated and your spouse fs not fillng with you, do not include information about your spouse. If mere space Is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

iste Describe Employment

1. Fill In your employment

 

information. Debtor 1 Debtor 2 or non-filing spouse
If you have more than one job,

attach a Separate pean war Employment status ia Employed zi Employed

employers. (Cd Not employed ICI Not employed

Include part-time, seasonal, or

self-employed work. Occupation driver technican

 

Occupation may include student
or homemaker, if it applies.

 

 

 

 

 

Employer's name uber WHIRLPOOL
5500 North Western Avenue Suite 212. 766 WHIRLPOOL DR
Employer's address uk .oke
Number Street Number Street
City State ZIP Code City State ZIP Code
How long employed there? 2mo 2YR

Glve Details About Monthly income

Estimate monthly income as of the date you file this form. If you have nothing fo report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. If you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or

 

 

non-filing spouse
2. List monthly gross wages, salary, and commissions (before all payroll
deductions). If not paid monthly, cafculate what the monthly wage would be. = 2. $0 $ 1400
_ 3, Estimate and list monthly overtime pay. 3, +g6 . + $40
4. Catculato gross Income. Add line 2 + line 3. 4.) $0 $1440,

 

 

 

 

 

Official Form 1081 Schedule |: Your Income page 1
Case 19-11334-R Document1 Filed in USBC ND/OK on 06/26/19 Page 39 of 59

 

 

Debtor 4 Tonnie Chicke Nichols Case number (7 kown),
Fest Name Middis Name Lesi Nsmo
For Debtor 1 For Debtor 2 or
on-fillng spouse _
Copy tine 4 here 2-4 $0 $1440

 

 

§. List ail payroll deductions:

 

 

 

5a. Tax, Medicare, and Social Security deductions Sa. $0 $40

5b. Mandatory contributions for retirement plans 5b. $0 $0 __
5c. Voluntary contributions for retirement plans Sc, $0 $90
5d. Required repayments of retirement fund loana a. «6$0) $0

5e. Insurance 5e. $0 $0

5f. Domestic support obligations 5. 6. $0 $0

9. Union dues 5g. 30 $0

Sh. Other deductions. Specify: 5h. +$0 +390

6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d+Se+5f+5g+Sh. 6 $9 $40
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7 $0 $1400

8. List all other Income regularly received:

8a. Net Income from rental property and from operating a business,
profession, or farm

Attach a statement for each property and business showing gross

receipts, ordinary and necessary business expenses, and the total $0 $0
monthly net income. 8a. Oo
8b. Interest and dividends 8b. 30 39
8c. Family support payments that you, a non-filing spouse, or a dependent
reguiarly recelve
Inctude alimony, spousal support, child support, maintenance, divorce $0 $0

 

sattlement, and property settlement.

. Unemployment compensation | $9
. Social Security 8. $6 $0

8f. Other government assistance that you regularly receive

Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.

¢2
& 8

 

 

 

Specify: as $9 = 38
8g. Pension or retirement income 8g. $0 $0
8h. Other monthly Income. Specify: 8h. +30 +30

9. Add all other Income. Add lines 8a + 8b + 8c + 8d + Se + 8f +8g + Sh. 9 | 390 $6

 

 

 

 

10. Calculate monthly income. Add line 7 + line 9.

Add the entries in line 10 for Debtor 1 and Debtor 2 or non-fiing spouse. io) SO |e] $1400 Is figen

 

 

 

 

 

11. State all other regufar contributions to the expenses that you list in Schedule J.

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

 

Specify: 11.+ $9
12. Add the amount in the last column of line 10 to the amount In line 11. The result is the combined monthly income.
Write that amaunt on the Summary of Your Assets end Liabilities and Certain Statistical Information, if it applies 12, 61400.
Combined

monthly income
13. Do you expect an Increase or decrease within the yoar after you file this form?

RZ! No.

 

 

[Ct ves. Explain:

 

 

 

Official Form 1661 , Schedule I: Your tncome page 2
Case 19-11334-R Document 1 Filed in USBC ND/OK on 06/26/19 Page 40 of 59

Fill in this information to identify vour case:

Tonnte Chicke Nichols
detr1 ES SRS Check if this is:

Boris Bernard Nichols C] An amended filing

QA supplement showing postpetition chapter 13
expenses as of the following date:

Debtor 2
(Spouse, if filing) Fret Nome Middle Name Last Name

United Stetes Bankruptcy Court for the: NORTHER istrict or OKLAHOMA

 

 

 

 

Case number MMT ODT YY
Official Form 106J
Schedule J: Your Expenses 12/16

 

Boa as complete and accurate as possible. if two married peopie are filing together, both ara aqually responsible for supplying correct
information. If more space ts needed, attach another sheot to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

FERRI Describe Your Household

 

1. Is this a joint case?

No. Go to fine 2.
{ Yes. Does Debtor 2 live in a separate household?
‘No
| Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

 

2 Do
you have dependents? IA No Dependent’s relationship to Dependent’s Does depentont live
Do not fist Debtor 1 and [EY Yes. Fit! out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. @ACh dependent......ccsscecssesscseesse
Do not state the dependents’ a No
names. Yes
7 No
(oF Yes
i. No
(ao Yes
le No
(or Yes
ws No
7 _ fr Yes
3. Do your expenses include wa No
expenses of people other than
yourself and your dependents? (Ld Yes

Zuese! Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unfess you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is fited. [f this is a supplemental Schedule J, check the box at the top of the form and fill In the
applicabtie date.

Include expenses paid for with non-cash government assistance If you know the value of

such assistance and have Included it on Schedule I: Your Income (Official Form 106.) Your expenses
4. Tho rental or home ownership expenses for your residenca. include first mortgage payments and $ 975

any rent for the ground or fot. 4.

If not Included in line 4:

4a. Real estate taxes 4, 90

4b. Property, homeowner's, or renter’s insurance 4b a

4c. Home maintenance, repair, and upkeep expenses 4. = §. 0

4d. Homeowner's association or condominium dues 44. § 0

Official Form 108J Schedule J: Your Expenses page 1
Debtor 4

11.
12.

13.
14.

18.

16.

17.

18.

19.

Case 19-11334-R Document1 Filed in USBC ND/OK on 06/26/19 Page 41 of 59

onnie Chicke Nichols

T
First Namo Miide Name Lost Name

. Additional mortgage payments for your residence, such as home equity loans

. Utilities:

6a. Electricity, heat, natural gas

8b. Water, sewer, garbage collection

6c. Telephone, cell phone, Intemet, satellite, and cable services
éd. Other. Specify: internet

. Food and housekeeping supplies

. Childcare and children’s education costs
. Clothing, laundry, and dry cleaning
10.

Personal care preducts and services
Medica! and dental expenses

Transportation. include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books
Charitable contributions and religious donations

insurance.
Do not include insurance deducted from your pay or included in fines 4 or 20.

15a. Life insurance

15b. Health insurance

15. Vehicle insurance

15d. Other insurance. Specify:

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:
installment or tease payments:
17a. Car payments for Vehicle 1
17>. Car payments for Vehicle 2
17c. Other. Specify:_0

17d. Other. Specify;,_9

 

Case number (known),

Sb.

6d.

10,
11.

12.
13.
14.

15a.
15b.
186.

15d.

16.

17a,

17b.

17e.

174.

Your payments of alimony, malntenance, and support that you did not report as deducted from

your pay on line 8, Schedule |, Your Income (Official Form 106)).

Other payments you make to support others who do not five with you.
Specify,_0

 

18.

19.

20. Other real property expenses not included In lines 4 or 5 of this form or on Schedule t Your income.
20a. Mortgages on other property 20a.
20b. Real estate taxes 20b.
20c. Property, homeowner's, or renter’s insurance 20c.
20d. Maintenance, repair, and upkeep expenses 20d.
20. Homeowner's association or condominium dues 200.
Official Form 106J Schedule J: Your Expenses

Your expenses
3 0

3 6
g 62
$0

 

page 2
Case 19-11334-R Document1 Filed in USBC ND/OK on 06/26/19 Page 42 of 59

 

 

 

 

Debtor 4 Tonnie Chicke Nichols Case number or known),
Fest Nome Middio Name Lost Namo
21. Other. Specify: °° 2. +90
22. Catculate your monthly expenses.
22a. Add lines 4 through 21. 228. $ 2469
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22h. S
22c. Add line 22a and 22b. The result is your monthly expenses. 22e. | §

 

 

 

23. Caleulate your monthly net income.
23a. Copy line 12 (your combined monthly income) from Schedule I. asa, 81400

23b. Copy your monthly expenses from line 22c above. 23. .¢ 2469

 

23c. Subtract your monthly expenses from your monthly income. 1069
The result is your monthly net income. 23. §

 

 

 

24. Do you expect an increase or decrease In your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
morigage payment to increase or decrease because of a modification to the terms of your merigage?

ey
[D ves. Explain here:

Official Form 106J Schedulo J: Your Expenses page 3
Case 19-11334-R Document1 Filed in USBC ND/OK on 06/26/19 Page 43 of 59

Fill in this information to identity your case:

Debtor1  Tonnie Chicke Nichols
First Nama Middle Namo Lost Nemo

Debtor 2 Borls Bernard Nichols
(Spouse, if filing) First Name Niddls Namo Last Kame

United States Bankruptcy Court fer the: NORTHER District op OKLAHOMA

Case number
(i known)

 

 

() Check if this is an
amended filing

 

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 42115

If two married paopie are filing together, both are equally responsible for supplying correct Information.

You must file thia form whenever you file bankruptcy schedufes or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3574.

a:

Did you pay or agree to pay someone who Is NOT an attorney to help you fill out bankruptcy forms?

() No
() Yes. Name of person . Attach Bankruptcy Petition Preparer’s Notice, Deciaration, and
Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and

 

that they are true and correct.

x oye habvy x Soy Adu
Signature of Debtor 1 Signature of Debtor 2
one bo L& ~Da\ ~ Ut “DaNG soala ~C%" 1)

Official Form 106Dec Declaration About an Individual Debtor’s Schedules
Case 19-11334-R Document1 Filed in USBC ND/OK on 06/26/19 Page 44 of 59

Fill in this information to identify your case:

Debtor 4 Tonnie Chicke

Nichols

 

First Nena ‘Middio Name

Debtor 2 Boris Bernard
(Spouse, if filing) First Name Niddo Name

Lest Nemo
Nichols

LastName

United States Bankruptcy Court for the: NORTHER pistrict of OKLAHOMA

Case number

 

(i known)

 

 

Official Form 107

 

O) Check if this is an
amended filing

Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/19

Be as complete and accurate as possibio. If two married people are fillng together, both are equally responsiblo for supptying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case

number (if known). Answer every question.

Give Details About Your Marital Status and Where You Lived Before

 

1. What is your current marital status?

[od Merrie
[CNot married

2. During the last 3 years, have you lived anywhere other than where you live now?

[No

(a Yes. List alt of the places you lived in the last 3 years. Do not include where you tive now.

Debtor 1:

 

Number Street

 

 

City State ZIP Code

 

Number Street

 

 

City State ZIP Code

Dates Debtor1 Debtor 2:
lived there

Q Same as Debtor 1

Dates Debtor 2
ved there

O Same as Debtor 1

 

 

 

 

 

 

 

 

 

 

 

 

From From

Number Strest
To To

City State ZIP Code

Q Same as Debtor 1 Q Same as Debtor 1

From From

Number Street
To To

City State ZIP Code

3. Within the last 8 years, did you aver live with a spouse or tegal aquivalant in a community property state ar territory? (Community property
States and forritories include Arizona, California, Idaho, Louisiana, Nevada, New Mexica, Puerto Rico, Texas, Washington, and Wisconsin.)

[Ma No

[CT Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Expiain the Sources of Your Income
Statement of Financtal Affatrs for individuals Filing for Bankruptcy page 1

Official Form 107
Case 19-11334-R Document1 Filed in USBC ND/OK on 06/26/19 Page 45 of 59

Debtor 4 Tonnie Chicke Nichols Case number (rinown!,
Fit Name Middle Name Lest Name

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from ail jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

[Q No

[Va Yes. Fill in the detaits.

Debtor 1 Bebtor2

Sourcaa of incomo Gross income Sources of Income Grosa Income

Check afl that apply. (before deductions and) = Check afl thet apply. (before deductions and

exclusions) exctusions)

From January 4 of current year until a pass. commissions, ¢ 6000 id yrages. commissions, $ 20000
the date you filed fer bankruptey: muses, Ups ne uses, Ups

QO Operating a business QO Operating a business
For fast calendar year: Gd Wages, commissions, (A weges, commissions,

° bonuses, tips g 15000 bonuses, tips g 19000

(January 1 to December 31, —~ (Q operating a business C1 Operating a business

@ Wages, commissions, a Wages, commissions,
For the calendar yoar before that: bonuses, tips ¢ 30000 bonuses, tips . 20000

(January 1 to December 31, vee ) (2 operating a business CI operating a business

6. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends, money collected from lawsuits; royafties; and
gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only ance under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

[4 No

[CF Yes. Fill in the details.

 

 

 

 

Bebtor-1 : Debtor2 .
Sources of Income Gross Income from Sourcea of Income Gross income from
Describe below. each source Describe betow, each source
(before deductions and (before deductions and
excisions) exclusions)
From January 1 of current year until, ——-~—-————_ $9 UC 8
the date you filed for bankruptcy: $ $
ee  § a a S
For last calendar year: $8 $0
(January 1 to December 31, ) $ $
yyy
§. $
For the calendar year before that: $9 $9
(January 1 to December 31, ) $ . $
Yy

 

 

Official Form 107 Statement of Financla! Affairs for Individuals Filing fer Bankruptcy page 2
Case 19-11334-R Document1 Filed in USBC ND/OK on 06/26/19 Page 46 of 59

Debtor 1 Tonnie Chicke Nichols Case number (#snown
Fret Namo Middia Name Lest Namo

Tisai List Certain Payments You Made Before You Filed for Bankruptcy

 

6. Are either Debtor 1's or Debtor 2’s debts primarily consumer debts?
lo No. Neither Debtor 1 ner Debtor 2 has primarily consumer debts. Consumer dabis are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”
During the 80 days before you filed for bankruptcy, did you pay any creditor a tctal of $8,825* or more?

C2 No. Go to fine 7.

CJ Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attomey for this bankruptcy case.

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

ia Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

fa No. Go to line 7.
fa Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that

crediter. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attomey for this bankruptcy case.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Dates of Total amount pald Amount you still owe Was this payment for...
payment
3. $
Creditor’s Name Q Mortgage
QO cer
Number  Stroet C) Credit card
2 coan repayment
O Supptiers or vendors
Cay Sate ZIP Goda Q) other
—__ § § QO Mortgage
Creditor’s Name
QO Car
antes “Sieat C2 credit card
Q oan repayment
Oj Suppiiers or vendors
Oly State ZIP code OQ other
ee $. $, Q Mortgage
. Crediter’s Name
() car
Nunbar Bee 2 credit card
CI Loan repayment
oO Suppilers or vendors
ay Salsa toes O other

 

Official Form 107 Statement of Financial Affairs for tndividuats Filing for Bankruptcy page 3
Case 19-11334-R Document1 Filed in USBC ND/OK on 06/26/19 Page 47 of 59

 

 

Debtor 4 Tonnle Chicke Nichols Case number (nom),
Feet Name Middle Name Lest Nae

 

7. Within 1 year before you filed for bankruptcy, did you make a paymont on a debt you awed anyone who was an Insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner,
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
such as child support and alimony.

1 no

(a Yes. List all payments to an insider.
— Dates of Total amount Amount you stiif Reason for this payment

 

 

 

 

 

 

 

 

payment pald owo

$. $
insider's Nama
Number Street
City State IP Code

$ $
insider's Name
Number Street
Cay State ZIP Code

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that bonofited
an Insider?
include payments on debts guaranteed or cosigned by an insider.

I No

QO) Yes. List all payments that benefited an insider.

 

 

 

 

 

 

 

 

 

Dates of Total amount Amount you still Reason for this payment
payment paid owe tnctude creditor's name
insider's Name s $
Number Street
City State ZIP Code
$ $
insider's Name
Number Street
Shy State__-ZiP Cade

Official Form 107 Statemont of Financial Affairs for Individuais Filing for Bankruptcy page 4
Case 19-11334-R Document1 Filed in USBC ND/OK on 06/26/19 Page 48 of 59

Debtor 1 Tonnte Chicke Nichols

Case number (iknow)

 

Fist Name Mitdio Kama Tat Nemo

tdentify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party In any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody medifications,

and contract disputes.

(Wi No

[CT Yes. Fill in the detaits.

Nature of the case

Case tite.

 

Case number

Case title

 

Case number

 

 

 

 

 

 

Court or agency Status of the case

Gouri Name QO Pending

O on appeal
Number Strect CD concluded
‘City Stato ZIP Code
CoutN Q Pending

Q] on appeal
Number Steet CD conctuded
Giy State 2IP Code

10. Within 1 yoar before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?

Check all that apply and fill in the details below.

[Q No. Goto tine 11.
[Gl Yes. Fill in the information below.

 

 

 

 

 

 

 

 

 

 

Describe the property Date Value of the property
—_— $
Creditors Name
Number  Streat Explain what happened
(J Property was repossessed.
{Property was foreclosed.
J Property was gamished.
Cy “Site ZIP Code C1 Property was attached, seized, or levied. ;
Describe the proparty Date Value of the property
$
Cracktor’s Name
Number Street
Explain what happened
(2 Property was repossessed.
(J Property was forectosed.
er Sas SP Gae Property was gamished.
C) Property was attached, seized, or levied.
Official Form 107 Statement of Financial Affatrs for Individuals Filtng for Bankruptcy page §
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Debtor 1 onnie Chicke Nichols Case number (known)

 

T
FirstName Middle Namo Last Nemo

11. Within 80 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, sot off any amounts from your
accounts or refuse to make a payment because you owed a debt?

[Zi No

C Yes. Fill in the details.

 

 

 

 

 

Describe the action the craditor took Date action Amount
was taken
Creditors Nama
$
Number Steot
Thy Stato ZipCode Last 4 digits of account number. XXXX—_______

12. Within 1 year before you filed for bankruptcy, was any of your property In the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

[i no

Ql ves

List Certain Gifts and Contributions

 

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
a No
CQ Yes. Fill in the details for each gift.

Gifts with a tote! value of more than $600 Describe the gifts Dates you gave Vatua
per person the gifts

 

Pesson to Whom You Gave the Gift

 

 

Number Strest

Clty State ZIP Coda

Person's relationship to you

Gifts with a total value of more than $600 Doscribs the gifts Dates you gave Value
per person the gifts

 

Person to Whom You Gave the Gift

 

 

Number Street

City State ZIP Code

Person's relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6
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Debtor 4 Tonnie Chicke Nichols Case number (itmown,
FretNeme Midcto Nema Last Name

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

[Yl No

© Yes. Fill in the details for each gift or contribution.

 

 

 

 

Gifts er contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed
$
Charity's Name
$
Number Street
Clty State ZIP Code

List Certain Losses

16. Within 4 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, ather
disaster, or gambling?

(No

{LI Yes. Fill in the details.

Describe the property you fost and Describe any insurance coverage for the floss Date of your Value of proporty
fost

how the loas occurred Include the amount that insurance has paid. List pending insurance tose

claims on {ine 33 of Schedule A/B: Property.

List Certain Payments or Transfers

16. Within 4 year bafore you filed for bankruptcy, did you or anyone elso acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attomeys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

1 No

(. Yes. Fill in the details.

 

 

 

 

 

Description end value of any property transferred Date paymentor Amount of payment
transfer wes
Person Who Was Pand made
Number Street $
§
Chy Stata IP Code
Email or website address

 

Person Who Made the Payment, if Not You

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Fillng for Bankruptcy page7

 
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Debtor 1 Tonnic Chicke Nichols Case number wknown)
Firat Name "hhiddie Nast Last Name
Description and valve of any property transferred Date payment or Amount of
transfer was made payment

Person Who Was Paid
$

Number Street
$

City State ZIP Coda

Email of website eddress

 

 

Person Who Made the Payment, if Nat You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

{i No

C) Yes. Fill in the details.

 

 

 

 

Description and value of any property tranaferred Date paymentor Amount cf payment
transfer was
made
Person Who Was Paid
Number Strest __ §
$
City Stata ZIP Code

 

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred In the ordinary course of your business or financtal affairs?
include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not Include gifts and transfers that you have already listed on this statement.
‘No
(Cr Yes. Fill in the details.

Description end vatue of property Describe any proporty or payments received Date transfer
transferred er debts pald in exchange was made

 

Peraon Who Roceived Transfer

 

Number Steet

 

 

Cy State ZIP Code

Person's retationship to you

 

Person Who Received Transfer

 

Number Street

 

 

City State __ZiP Code
Person's refationship to you

Official Form 107 Statement of Financial Affairs for individuais Filing for Bankruptcy page 8

 
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Debtor 1 Tonnie Chicke Nichols Case number (mown,
Fist heme Midde Namo Last Name

 

 

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a selt-sattied trust or similar device of which you
are a beneficiary? (These are often called assef-protection devices.)

[i No

CJ Yes, Fill in the details.

Name of trust

Description and value of the property transferred

 

Date transfer

made

 

List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

Td No

(CY Yes. Fill in the dotaits.

 

 

 

 

 

 

 

 

[No
[CI Yes. Fill in the detaits.

Last 4 digits of accountnumber Typo of account or
Instrument
Nemo of Financial institution
“ms XXXXe C] cheeking
Number Street Q Savings
CO money markat
Q Brokerago
chy State ZIP Coda C2 other
_ WOKe CO) checking
Name cf Financial Institution
Q Savings
Number Street C] Money market
Q Brokarage
- ___. QO Other
City State ZIP Code

 

 

 

 

 

 

 

 

20. Within 1 year before you filed for bankruptcy, were any financial accounts or Instruments held in your name, or for your benofit,
closed, sold, moved, or transferred?
tnelude checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, coeperatives, associations, and other financial institutions.

21. Do you now havo, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or othar dapoaltory for
securities, cash, or other valuables?

Date account was Last balance before
closed, sold,moved, cfosing or transfer
’ or transferred
$
$

Who else had access to it? Describe the contents Do you stil]

have it?
CI No

Name of Financial institution fame Q Yes

Number Street Number  Strect

City State ZIP Code
City State ZIP Gods
Official Form 107 Statement of Financial Affairs for Individuals Fifing for Bankruptcy page 9

 
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Debtor 1 Tonnie Chicke Nichols Case number (known),
Fest Name Hidde Name Last Nemo

22.Have you stored property in a storaga unit or place other than your homo within 1 year before you filed for bankruptcy?
No ,
C) Yos. Fill in the datatts.

 

 

Who else has or had access to t? Describe the contents Do you still
have it?
_ INo
Name of Storage Facility Name Ql Yes
Number Street Number Strect

 

GityState ZIP Code

 

 

City Stata iP Code

identify Property Yau Hold or Control for Someone Elso

23. Do you hold or contro! any property that someane else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.
a No
[CE Yes, Fill in the details.

 

 

 

 

 

 

Where ts the property? Describe the property Vatue
Owner's Name $
x Soest Number Stroct
_ chy Suts  2P Code

 

City Stete  2iP Coda
FEEEETIE ove betas about environment! information

For the purpose of Part 10, the following dofinitions apply:

2 Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material Into the air, land, soil, surface water, groundwater, or othar modium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

Site means any location, facility, or property as defined under any environmental law, whether you now own, operata, or
utilize it or used to own, operate, or utilize it, including disposal sites.

5 Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when thoy occurred.

 

24.Has any governmental unit notified you that you may bo [lable or potentially liable under or In violation of an environmental law?

Ni No

O Yes. Fill in the details.

 

 

 

Governmental unit Environmental law, If you know It Date of notice
Name of sito Governmental unit
Number Street Number Street
City State iP Cade

 

 

tty State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuats Filing for Bankruptcy page 10
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Debtor 4 Tonnie Chicke Nichols Case number (known)
First Ramo  Midde tame Cnet Name

25, Have you notified any governmental unit of any release of hazardous material?

i No

Q Yos. Fill in the detaits.

 

 

Governmental unit Environmental law, Hf you know it Date of notice
Namo cf site Governmental unit
Number Sweet Number Strect

 

 

| Clty State  ZiP Code

28. Have you been a party In any judicial or administrative proceeding under any environmental law? Include settlements and orders.

[i no

OC Yes. Fit In the dataits.

 

 

 

 

 

Court or agency Nature of the case ene ofthe
Case title, 2
Gout Namo Pending
QO Gn appeal
Number Street (2 conctudea
Case number By ae

mnt Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or havo any of the following connactions to any business?
OQ] Asote proprietor or self-employed in a trade, profession, or other activity, elthar full-time or part-time
Q A membor of a limited Hability company (LLC) er limited llabifity partnership (LLP)
C2} A partner in a partnership
Q an officer, director, or managing executive of a corporation

O An ownor of at least 5% of tho voting or equity securities of a corporation

na No. None of the above appliias. Go to Part 12,
[Q) Yes. Check all that apply above and fill In the details below for each business.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Describe the nature of the business Employer tdentification number
Business Name De not Include Soctal Security number or ITIN.
|
Number Street
Name of accountant or bookkeeper Dates business oxisted
From To
City Sisto _2iP Code .
Describe the nature of the business Employer identification number
Bosiness Do not Include Soclal Security number or ITIN.
EIN: ow
Number Street
Name of accountant or bookkeeper Dates business existed
From To
City ‘State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Fillng for Bankruptcy page 11
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Debtor 4 _Tonnie Chicke Nichols Case number (2 mown
Feet Namo Niddie Namo Last Nems
Describe the nature of the buainess Employer (dentification number
Do not Include Soclal Security number er (MN.
Business Nzme
EIN; oe
Name of accountant or bookkeeper Dates business existed
__ From To
City State ZIP Code

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Includo all financial
institutions, creditors, or other parties,

a. No

C2 Yes. Fill in the detalts below.

 

 

 

Date Issued
Name MM IDDIVYYY
Number Street
City Sato iP Gode

 

J eerie Sicn Below

 

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a felae statement, concealing property, or obtaining money or property by fraud

In connection with a bankruptcy case can result In fines up to $250,000, or Imprisonment for up to 20 years, or both.
18 U.S.C. §§ 162, 1341, 1519, and 3574.

«© Jom adh, x Bry (ida)

Signature of Debtor 4 Signature of Debtor 2

pao L,- L-. 2-019 nate (@L& - AIT
Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

fat No
QO Yes

Did you pay or agree to pay semsone who Is not an attorney to help you fill out bankruptcy forms?
Q No

Q) Yes. Name of person . Attach the Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 118).

 

 

 

Official Form 107 Statement of Financlal Affairs for individuals Filing for Bankruptcy page 12
 

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Fillin this information to identify your case: Check as divacted in lines 17 and 21:

According to the calculations required by
this Statement:

a 1. Disposable income is nat determined
under 11 U.S.C. § 1325(b)(3).

[o 2. Disposable Income is determined
under 11 U.S.C. § 1325(6}(3).

  
    

Debtor 4 Tonnie Chicke Nichols

Fest Name Middle Name Last Name

Debtor 2 Boris Bernard Nichols
(Spouse, # filing) Fint Name Middle Name Last Name

     
    

United States Bankruptey Court for the: NORTHER pistict of OKLAHOMA

   

 

Case number
(if known)

 

a 3. The commitment period is 3 years.
lo 4. The commitment period is 5 years.

      

 

 

Q Check if this is an amended filing

Official Form 122C-1

Chapter 13 Statement of Your Current Monthly Income

and Calculation of Commitment Period 12/45
Bo as complete and accurate as possible. if two married people are filing together, both are equally responsible for being accurate. If

more space is needed, attach a separate sheet to this form. Include the line number to which the additional Information appiles. On the
top of any additional pages, write your name and case number (if known).

 

Part 1; Catculate Your Average Monthly income

1. What is your marital and filing status? Check one only.
fy Not married. Fili out Cotumn A, lines 2-11.

[i Married. Fil! out both Columns A and B, lines 2-11.

Fill In the average monthly income that you received from all sources, derived during the 6 full months before you file this
bankruptcy case. 11 U.S.C. § 101(40A). For example, if you are filing on September 15, the 6-month period would be March 1 through
August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in
the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the Income
from that property in one column only. if you have nothing to report for any line, write $0 in the space.

 

 

 

 

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all 0 1440

payroll deductions). _ § :
3. Alimony and maintenance payments. Do not include payments from a spouse. __ $
4. All amounts from any source which are regularly paid for household expenses of

you or your dependents, including child support. Include regular contributions from

an unmanned partner, members of your household, your dependents, parents, and

roommates. Do not include payments from a spouse. Do not indude payments you

listed on tine 3. $ 0 gO
5. Ret Income from operating a business, profession, or Debtor 4 Debtor 2

Gross receipts (before all deductions) $9 =§$_0

Ordinary and necessary operating expenses -$? -3_°

Copy

Net monthly income from a business, profession, or farm $0 $ here=> $ 0 $ 0
6. Net income from rental and other real property Debtor? Debtor2

Gross receipts (before all deductions) $0 $_o

Ordinary and necessary operating expenses — 30 -$_0

Net monthly income from rental or other real property $9 $ roPy, g 0 $ 9

Official Form 122C-1 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period page 1

 

 
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Debtor 1 Tonnie Chicke Nichols Case number (town),
Fest Name Middis Name Last Name

 

 

 

Column A Column B
Debtor 1 Debtor 2 or

7. interest, dividends, and royalties gs  __? ss

8. Unemployment compensation $

Do not enter the amount if you contend that the amount received was a benefit under
the Social Security Act. Instead, list t H@P@: -cssssssesccessessee v

So
“A
oe

For you $.
For your spouse $

 

9. Pension or retirement income. Do not include any amount received that was a 0 0
benefit under the Social Security Act. $ $

10. Income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act or payments
received as a victim of a war crime, a crime against humanity, or intemational or
damestic terrorism. If necessary, list other sources on a separate page and put the
total below.

 

0s

 

Total amounts from separate pages, if any. +S +S

 

 

11. Calculate your total average monthly income. Add lines 2 through 10 for each | ol+
column. Then add the total for Cotumn A to the total for Column B. 1 §

 

 

 

 

 

Total average
monmitty Income

Part 2: Determine How to Measure Your Deductions from Income

 

12. Copy your total average monthly Income from line 11. $ 1440

13. Calculate the marital adjustment. Check one:
[CO You are not married. Fil! in 0 below.

IZ You are married and your spouse is filing with you. Fill in 0 below.
Q) You are married and your spouse is not filing with you.

Fitl in the amount of the income listed in line 11, Cofumn B, that was NOT reguiarly paid for the household expenses of
you or your dependents, such as payment of the spouse's tax Hability or the spouse's support of someone other than
you or your dependents.

Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary,
list additional adjustments on a separate page.

If this adjustment does not apply, enter 0 below.

 

 

 

 

 

Total s Copy hore > ™

 

 

14. Your current monthly income. Subtract the total in line 13 from line 12. | $_____—1440

15. Catculate your current monthty income for the year. Follow these steps:

15a. Copy line 14 here > 1440

Muttiply line 15a by 12 (the number of months in a year). x 12

 

 

15b. The result is your current monthly income for the year for this part of the form. $. 17280

 

 

 

 

 

Official Form 122C-1 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period page 2

 
Case 19-11334-R Document1 Filed in USBC ND/OK on 06/26/19 Page 58 of 59

 

 

Debtor 1 Tonnie Chicke Nichols Case number «2 known)
Firet Namo Middle Name Lost Nome

 

18. Calculate the median family income that appiles to you. Follow these steps:

 

16a. Fill in the state in which you live. OKLAHOMA
16b, Fill in the number of people in your household. 2
16c. Fill in the median family income for your state and size of household. $ §9133

To find a list of applicable median income amounts, go on{ine using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk's office.

17. How do the fines compare?

sala Line 15b is fess than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
11 U.S.C. § 1325(b)(3). Go to Part 3. Da NOT fill out Calculation of Your Disposable Income (Official Farm 122C-—2).

17o[ Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Cafculation of Your Disposable Income (Official Form 122C~2).
On line 39 of that form, copy your current monthly income from line 14 above.

 

pros] Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)}(4)

18. Copy your total average monthly Income from line 11.

 

 

 

 

 

 

 

 

 

 

 

 

$440

19. Deduct tho marital adjustment if it applies. If you are married, your spouse is net filing with you, and you contend that

calculating the commitment period under 11 U.S.C. § 1325(b)}(4) allows you to deduct part of your spouse’s income, copy

the amount from line 13.

1€a. If the marital adjustment does not apply, fill in 0 on ine 19a. $

18, Subtract line 1a from tine 18. s____ 1440
20. Calculate your current monthly Income for the year. Follow these steps:

20a. Copy tne 19b.. $ 1440

Multiply by 72 (the number of months in a year). x 12
20b. The result is your current monthly income for the year for this part of the form. $ 17280
20c, Copy the median family income for your state and size of household from line 16c. § 59133

 

 

 

21. How do the IInes compare?

a Line 20b is less than fine 20c. Untess otherwise ordered by the court, on the top of page 1 of this form, check box 3,
The commitment period is 3 years. Go to Part 4.

lo Line 20b is more than or equal! to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
check box 4, The commitment periad is 5 years. Go to Part 4.

By signing here, under penalty of perjury | declare that the information on this statement and in any attachments is true and correct.

 

 

x % Bow lel
Signature of Debtor 4 . Signature of Debtor2.
Date yy -yo\\ Date ly 2p A

MM/DD /YYYY MM/ DD /YYYY

If you checked 17a, do NOT fill out or file Form 122C-2.
if you checked 17b, fil out Form 122C—2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.

 

Official Form 122C-1 Chapter 13 Statement of Your Current Monthly income and Calculation of Commitment Period page 3

 

 
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Revised 01/2019

UNITED STATES BANKRUPTCY COURT FOR THE
_— A NORTHERN DISTRICT OF OKLAHOMA
ONVNGS NM . Uwe \3

\
INRE: <9 PONS 1 Ubol > Case No.

Chapter

Debtor(s) L »
VERIFICATION AS TO OFFICIAL CREDITOR LIST
JA. Original
[J] Amendment
A Add CO) Delete

I hereby certify under penalty of perjury that the master mailing list of creditors submitted either on the
Creditor List Submission application, or uploaded to the Electronic Case Filing System is a true, correct and
complete listing to the best of my knowledge.

 

I further acknowledge that (1) the accuracy and completeness in preparing the creditor listing are the
shared responsibility of the debtor and the debtor’s attomey, (2) the court will rely on the creditor listing for all
mailings, and (3) that the various schedules and statements required by the Bankruptcy Rules are not used for
mailing purposes.

If this filing is an amendment to the creditor list, indicate only the number of creditors being added

or to be deleted at this time. (For verification purposes, attach a list of the creditors being submitted,
uploaded, or to be deleted.)

# of Creditors (or if amended, # of creditors added)

Method of submission:

a) uploaded to Electronic Case Filing System;_or

 

b) Creditor List Submission application (to be used by Pro Se filers, found on the court’s
website at www.oknb.uscourts.gov, or available in the Clerk’s Office)

# of Creditors (on attached list) to be deleted

bAL HowldsL

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor Signature Joint Debtor Signature
Address: (if not represented b attorney) Address: (if not represented by an attorney)
SS UIE BEA E gS67C SrUL Sh
ju Sy Ba gee Talie Ud
AZ eye Goo ee. A
Oty VTi 85 1€ FLVYIL VC TY
Phone: (if not represented by an attorney) Phone: (if not represented by an attorney)
s/ Date > [
Signature of Attorney lg “Qe 1
[Check if applicable]

 

 

Creditors with foreign addresses included

 

 

 

 

Name/OBA#/Address/Telephone #/
Email
